                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                   ROANOKE DIVISION

 UNITED STATES OF AMERICA )
                          )
 v.                       )                   CRIMINAL NO. 4:18-cr-00012
                          )
 MONTEZ LAMAR ALLEN       )

      DEFENDANT’S SECOND MOTION TO DENY THE UNITED STATES’ MOTION
                 AND REQUEST FOR HEARING ON THE ISSUE

        COMES NOW, the Defendant, Montez Lamar Allen, by counsel, and files this second

 motion to deny the Government’s Emergency Motion to Limit Disclosure of Identifying

 Information Outside Defense Teams in this case, and in support thereof states:

        1.      Defense counsel decided to file this second motion in response to the court’s email

 to counsel dated December 05, 2018. Counsel believes the court intends to grant the Government’s

 motion without a hearing, and wishes to provide specific arguments against doing so, as well an

 alternative course of action.

        2.      In its motion, the Government justifies its disclosure restriction request on the

 shooting death of one of their witnesses, Dwight Montel Harris, who was from Danville, Virginia,

 and who was found shot to death on a street in Danville on October 23, 2018. According to the

 Government’s own evidence, Harris was a dangerous, armed criminal who may have been a

 member of a drug dealing street gang referred to as the “Philly Boys”. Also according to the

 Government’s own evidence, the charges related to the June 15, 2016 shooting set forth in the

 indictment were based, in part, on Harris’ belief that some females stole illegal drugs from him so

 he and Armonti Womac (the two listed as the victims) armed with handguns and bad intentions

 went to find the females and the illegal drugs and engaged in a shootout in a residential

 neighborhood which resulted in part of co-defendant Tanasia Lashae Coleman’s pinky finger being




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 shot off, Womack being shot multiple times, and considerable property damage.

        3.      This is significant because it appears the Government knew their witness was a

 violent drug dealer and he was still at liberty and active in the Danville community. The

 Government claims Harris was “lured” to the area to be murdered. Though they have produced

 no evidence to prove that allegation, it may be true. It is inarguable that the career choice of being

 a dangerous, armed criminal drug dealer carries with it the likelihood of being murdered. That

 fact alone undermines the Government’s claim that Harris was murdered because he was a

 Government witness in this specific case. Moreover, there are many reasons people get murdered

 that have nothing to do with a court case: a personal slight, adultery, failure to pay a debt, a

 drunken brawl, etc. All of these have been and will continue to be reasons given for a homicide.

 But, to justify the Government’s extraordinary demand, it must show a strong factual link between

 the alleged murder of Harris and the defendants in this case: An unsupported claim and a redacted

 hand-written note cannot suffice.

        4.      One important fact the government failed to reveal to the Court, and which is

 readily apparent to defense counsel, is that the community where the defendants come from in

 Danville is small, close-knit and almost exclusively African-American. Many of the defendants

 have known each other from childhood. Many of the defendant’s families know one another. It

 is safe to assume that many, if not most, of the prosecution witnesses come from the same

 community in Danville. It is safe to assume that many, if not most, of the defendants and their

 families know the prosecution witnesses. This statement is supported by the fact the Government

 did not release discovery #5 (the material including witness names and Grand Jury testimony) until

 only a few days ago. Thus, it is highly likely the community already knows who the Government’s

 witnesses are. But the most important issue, which counsel cannot stress more, is that in order to




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 assess whether a prosecution witness has a reputation for dishonesty in the community (or on this

 case the specific neighborhood), counsel must identify that person by name. In order to assess

 whether a prosecution witness bears a grudge against a defendant, or maintains any other form of

 bias, defense counsel must identify that person by name. How else is counsel supposed to assess

 the credibility of witnesses in the community and neighborhoods, if we can’t even name them?

 And how is counsel to respond to any person who asks why are we asking about this person? Or,

 who is the person you are asking about? The practical effect of the Government’s motion will be

 to hamstring all the defense teams’ efforts to properly investigate their cases.

        5.      Finally, defense counsel believes there is a fundamental unfairness wherein the

 most powerful party in an adversarial proceeding can ask and require the other weaker party to be

 prohibited from using important available information in its most basis investigative tasks. There

 should be a hearing on this issue where the Government produces substantial and convincing

 evidence to prove its claim and justify limiting all the defense teams’ ability to investigate.

 Moreover, once the difficulty such an extraordinary order will cause becomes obvious, all defense

 counsel, individually or collectively, should have the ability to return to court and demand the

 restriction be eliminated.

        Defense counsel suggests the court enter a temporary order similar to what the Government

 requests, and then set a hearing date and require the Government to present competent evidence

 that supports its claims and fully justify the extraordinary relief it seeks. Counsel asks that such a

 hearing be an adversarial hearing where the Government is required to produce witnesses and other

 admissible evidence to support is claims.        This counsel will object to any proffer by the

 Government to justify the relief they seek herein.

        WHEREFORE, Defendant, Montez Lamar Allen, respectfully moves the Court to deny the




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 United States’ motion, and, should the court decide to enter an order on Friday as it indicated it

 would, Defendant moves the court to enter only a temporary order and renews its request for a full

 hearing on the issue at which the United States must produce witnesses to testify in support of its

 claims prior to the Court entering this extraordinary order, and for any other relief deemed

 appropriate by the court.

                                                      MONTEZ LAMAR ALLEN

                                                      s/Seth C. Weston
                                                      By: Seth C. Weston, Esq.
                                                      Counsel for Montez Lamar Allen

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                                       Certificate of Service

        I hereby certify that I electronically filed this motion on December 06, 2018, with the Clerk

 of the Court using the CM-ECMF system, which will electronically notice all counsel of record.

                                                      s/ Seth C. Weston
                                                      Counsel for Defendant




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